
f\ ott, J.
The principle involved in this case was settléd in the case of the Exo'rs. of Satterwhite vs. M‘Kie, (Harper’s Rep. 397.) in this court. That was an action on a note of hand in which the defendant agreed, that if he failed to pay the note at the time it fell due, he would pay interest from the date. The court held that he was liable to pay the interest according to his contract.
This is a stronger case; for the penalty became forfeited by the nonpayment of the first installment. And he could he ‘ *482exonerated only by paying up the principle and interest.
Patterson for the motion.
Wardlaw contra.
The decision must therefore be reversed and the sheriff must proceed to collect the balance due on the execution.
